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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 FT. WORTH DIVISION

EUGENIO VARGAS                               §
Plaintiff/Counterclaim Defendant             §
                                             §        Case No. 4:22-CV-00430-Y
                                             §
                                             §
ASSOCIATION OF                               §
PROFESSIONAL FLIGHT                          §
ATTENDANTS, JULIE HEDRICK,                   §
ERIK HARRIS                                  §
Defendants/Counterclaim Plaintiff.           §
                                             §

               PLAINTIFF’S SETTLEMENT CONFERENCE STATEMENT

       COME NOW, Plaintiff Eugenio Vargas (“Plaintiff”), by and through his undersigned

counsel, and submits this Plaintiff’s Settlement Conference Statement:

       The parties attended a settlement conference for Eugenio Vargas v. APFA, et al on March

29, 2023. In attendance were:

       Eugenio Vargas, Plaintiff

       Kerri Phillips, Plaintiff’s Counsel

       Sanford Denison, Defendants’ Counsel

       Julie Hedrick, Association of Professional Flight Attendants (hereinafter “APFA”)

National President

       Erik Harris, APFA National Treasurer

       Charlette Matts, In-House counsel for APFA,

       Unfortunately, Defendants, APFA and its individual officers, are not likely of settlement

with Plaintiff at this point. Plaintiff put forth multiple offers for settlement to Defendants for the

union which would allow Plaintiff to continue employment with the employer, American Airlines,

Inc., without continuing to endure the abuse suffered from the Union and its officers’ conduct. As
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of the filing of this pleading, all offers for settlement made by the Plaintiff have been rejected by

Defendants.

        Currently, Defendants are unable or unwilling to settle due to their concerns about

additional liability and/or additional lawsuits resulting from the charging parties against Plaintiff

in the Arbitration—Melissa Chinery-Burns and Sandra Lee. Defendants’ Counsel made clear that

Defendant, APFA, is contractually liable if settlement occurs on its counterclaims. Defendant,

APFA, must first have a final judicial resolution to its Motion to Enforce the Arbitration Award

and Breach of Fiduciary Duty claims to consider settlement without accepting risks of liability

from others. As of the date of this filing, Defendant, APFA, is unable to negotiate settlement or

mediate in good faith as it is contractually required to enforce an arbitration award acquired by its

membership on its behalf and refuses to acknowledge the fraudulent means used to acquire it. As

of the date of this filing, settlement is not likely based on the pending counterclaims by APFA and

its perceived liability.

                                                     Respectfully submitted,
                                                     KD PHILLIPS LAW FIRM, PLLC

                                                     By: /s/ Kerri Phillips______________
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                                                          ATTORNEY FOR
                                                          PLAINTIFF/COUNTERCLAIM
                                                          DEFENDANT




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                               CERTIFICATE OF SERVICE



        I HEREBY CERTIFY that on this 3rd day of April 2023 a true and correct copy of the
foregoing instrument was served upon Plaintiff’s attorney via the e-filing manager and email
to at denison@baabdenison.com, and b.osborne@osbornelaw.com, respectively.



                                          /s/ Kerri Phillips ________
                                          Kerri Phillips, Esq.




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